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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

Peter L. Fear, in his capacity as the Trustee Case No.: 2:18-cv-02333-KJM-DB
of Chapter 7 Bankruptcy Estate of Orlonzo NOTICE OF APPEAL
Hedrington,
Plaintiff,
Vv.
United States of America,

Defendant

Plaintiff Peter L. Fear, in his capacity as the Trustee of Chapter 7 Bankruptcy Estate of Orlonzo

Hedrington hereby appeals to the United States Court of Appeals for the Ninth Circuit from the

1 ‘Court’s order granting Defendant United States of America motion for Summary Judgement.. A

copy of said order is attached hereinto and marked as Exhibit A.

| Dated: January 07, 2023 ctfully Submitted,

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Orlonzo Hedrington

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EXHIBIT “A”

ORDER

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

Peter L. Fear, in his capacity as the Trustee of No. 2:18-cv-02333-KJM-DB
the Chapter 7 Bankruptcy Estate of Orlonzo .
Hedrington, ORDER

Plaintiff,
V.

United States of America,

Defendant.

Plaintiff Peter Fear, as the trustee of the bankruptcy estate of Orlonzo Hedrington, brings
this negligence suit against the United States under the Federal Tort Claims Act (FTCA). The
United States moves to dismiss for lack of subject matter jurisdiction, and in the alternative,
moves for summary judgment, (1) asserting Fear’s lawsuit is barred under the doctrine of res
judicata, and (2) claiming insufficient evidence supports a negligence claim against the United
States. For the reasons below, the court denies the motion to dismiss, but grants the motion for
summary judgment based on both res judicata and insufficient evidence.

I. BACKGROUND

Hedrington underwent a coronary artery bypass graft procedure, as well as post-surgery

recovery treatment, at David Grant Medical Center at Travis Air Force Base in California.

Compl. at 1, ECF No. 1; Frueh Decl. Ex E (Hedrington Dep.) at 22:19-23:15, ECF No. 56-8.

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One day, hospital employees left Hedrington unattended for 20 minutes in a secluded area.
Hedrington Decl. 4 3, ECF No. 58. When he complained about chest pain, either his physical
therapist or surgeon injected him with a syringe, which rendered him unconscious. Frueh Decl.
Ex. C at 8:20-9:4, ECF No. 56-6; Hedrington Dep. at 74:24-76:3. While Hedrington was
unconscious, his physical therapist sexually assaulted him. Hedrington Dep. at 81:24—82:17;
Compl. ¥ 9.

Hedrington brought his negligence claim against David Grant Medical Center, an agency
of the United States, under the FTCA. See generally Compl. At hearing on the pending motion,
Fear clarified this negligence claim is predicated solely on the hospital’s negligent supervision of
Hedrington, which allowed Hedrington’s assailants to drug and sexually assault him. See Compl.
at 1-2 (alleging federal employees “negligently supervised and transported [Hedrington] to and
from physical therapy and recovery [such] that [he] was allowed to be drugged and sexually
touched and penetrated without his consent. . . .”).

The United States previously moved for summary judgment for lack of standing, asserting
Hedrington did not disclose his claim against the United States in bankruptcy. See Mot. Summ.
J., ECF No. 23. Hedrington resolved this nondisclosure issue with Fear, the bankruptcy trustee,
by agreeing to split any proceeds from this case. Nelson Suppl. Decl. Ex. A § I 4 1-9,

ECF No. 30. Fear substituted himself for Hedrington as plaintiff in this action. Stip. & Order,
ECF No. 44. The court then denied the government’s motion for summary judgment as moot.
Min. Order, ECF No. 48. After Fear’s substitution in this case, Hedrington filed a separate
lawsuit pro se, which the court dismissed based on statute of limitations.! See Order, Hedrington
vy. County of Solano, et al., No. 21-414 (E.D. Cal. Dec. 15, 2021), ECF No. 41 (Hedrington). The
parties have completed discovery in this case. See Mins, ECF No. 46.

As noted, the United States now moves to dismiss Fear’s complaint for lack of subject
matter jurisdiction. See Mot., ECF No. 56. In the alternative, the United States moves for

summary judgment, asserting Fear’s lawsuit is barred under the doctrine of res judicata, and

1 The government alerted Fear about Hedrington’s separate lawsuit, but Fear did not take
any action there. Frueh Decl. {J 3-6, 8, ECF No. 56-3.

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claiming insufficient evidence supports a negligence claim against the United States. /d at 1.
Fear opposes. Opp’n, ECF No. 57. The United States has replied. Reply, ECF No. 60. The
court held a hearing on November 4, 2022. Mins. Mot. Hr’g, ECF No. 62. Bruce Neilson
appeared for Fear. Joseph Frueh appeared for the United States.

II. MOTION TO DISMISS

This court’s jurisdiction over claims against the United States depends on the United
States’ consent to be sued. United States v. Mitchell, 445 U.S. 535, 538 (1980); U.S. Const.
amend. XI. Under the FTCA, the United States has waived immunity “for injury . . . caused by
the negligent or wrongful act or omission of any employee of the Government while acting within
the scope of his office or employment.” 28 U.S.C. § 1346(b)(1). But the FTCA also provides
several exceptions to that waiver, including the “intentional-tort” exception. See id. § 2680(a)-
(n). The intentional-tort exception bars the torts enumerated in 18 U.S.C. § 2680(h), such as
assault and battery, but the exception does not bar a plaintiff from bringing a negligence claim
against federal employees who allowed the intentional tort to occur. Sheridan v. United States,
487 U.S. 392, 401-02 (1988).

As reviewed above, Fear asserts the federal hospital’s negligent supervision of Hedrington
caused the sexual assault against him. At hearing, the United States conceded sovereign
immunity would not bar this negligence claim, a position with which the court agrees. Under
California law, a hospital has a duty to safeguard its patient, although the reasonable “care and
diligence is measured by the capacity of the patient to care for himself.” See Valentin v. La
Société Francaise De Bienfaisance Mutuelle De Los Angeles, 76 Cal. App. 2d 1, 4 (1946); see
also Bennett v. United States, 44 F 4th 929, 933 (9th Cir. 2022) (“The FTCA [ ] incorporates
substantive state law as federal law to determine liability.”). Fear’s claim, alleging the federal
hospital breached its duty to Hedrington, falls within the FTCA’s negligence waiver. 28 U.S.C.
§ 1346(b)(1). The FTCA’s intentional-tort exception also does not bar Fear’s claim against
federal employees whose negligence facilitated the alleged drugging and sexual assault of

Hedrington. Sheridan, 487 U.S. at 401-02. Accordingly, sovereign immunity does not bar

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Fear’s negligence claim against the United States. The court denies the government’s motion to
dismiss for lack of subject matter jurisdiction.
Ill. MOTION FOR SUMMARY JUDGMENT

A. Legal Standard

Summary judgment is appropriate if “there is no genuine dispute as to any material fact
and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A dispute is
“genuine” if “a reasonable jury could return a verdict for the nonmoving party.” Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is “material” if it “might affect the outcome
of the suit under the governing law,” Jd.

The party moving for summary judgment must first show no material fact is in dispute.
Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). It can do so by showing the record
establishes facts beyond genuine dispute, or it can show the adverse party “cannot produce
admissible evidence to support the fact.” Fed. R. Civ. P. 56(c)(1). The nonmoving party must
then “establish that there is a genuine issue of material fact.” Matsushita Elec. Indus. Co. v.
Zenith Radio Corp., 475 U.S. 574, 585 (1986). Both must cite “particular parts of materials in the
record.” Fed. R. Civ. P. 56(c)(1). The court views the record in the light most favorable to the
nonmoving party and draws reasonable inferences in that party’s favor. Matsushita, 475 U.S. at
587-88; Adickes y. S.H. Kress & Co., 398 U.S. 144, 157 (1970).

Although factual claims may defeat a motion for summary judgment even if they are self-
serving and uncorroborated, a party cannot force its way to a trial with conclusory assertions.
Nigro v. Sears, Roebuck & Co., 784 F.3d 495, 497-98 (9th Cir. 2015). A declaration may be
disregarded if it asserts conclusions rather than facts. Id. at 498.

B. Res Judicata

Fear’s claim is barred under res judicata.

“Res judicata, also known as claim preclusion, bars litigation in a subsequent action of
any claims that were raised or could have been raised in the prior action.” Owens v. Kaiser
Found. Health Plan, Inc., 244 F.3d 708, 713 (9th Cir. 2001) (quoting W. Radio Servs. Co. v.
Glickman, 123 F.3d 1189, 1192 (9th Cir. 1997)). “The doctrine is applicable whenever there is

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“) an identity of claims, (2) a final judgment on the merits, and (3) identity or privity between
parties.’” Jd.

Here, the court’s final judgment in Hedrington satisfies all three elements of res judicata.
See Frueh Decl. Ex. B, ECF No. 56-5. First, Hedrington and this case share “an identity of
claim,” as they “arise out of the same transactional nucleus of facts.” Owens, 244 F.3d at 714
(quoting Frank vy. United Airlines, Inc., 216 F.3d 845, 851 (9th Cir. 2000)). The complaint in
Hedrington similarly alleged the hospital employees negligently supervised Hedrington,
facilitating the sexual assault. Hedrington Not. Removal Ex. A {J 4, 8, ECF No. 1-1. Second,
the court’s dismissal of that case based on statute of limitations was a final judgment on the
merits. Ruiz v. Snohomish Cnty. Pub. Util. Dist. No. 1,824 F.3d 1161, 1164 (9th Cir. 2016).
Third, Hedrington and this case involve the same defendant, as well as plaintiffs who are in
privity. While Fear has substituted Hedrington in this case, Fear, as the bankruptcy trustee, stands
in the shoes of the debtor Hedrington for purposes of res judicata. Zn re Keller, 185 B.R. 796, 800
(9th Cir. B.A.P. 1995). Fear is also in a contractual privity with Hedrington. Nelson Suppl. Decl.
Ex. A; Taylor v. Sturgell, 553 U.S. 880, 893-94 (2008). Thus, all three elements of res judicata
are met.

Fear argues res judicata based on statute of limitations should not apply because this case
was timely and filed first. Opp’n at 5. But as the court discussed with counsel extensively at the
hearing, “[t]he date of judgment, not the date of filing, controls the application of res judicata
principles.” See Hawkins v. Risley, 984 F.2d 321, 324 (9th Cir. 1993) (holding the denial of the
plaintiff's federal habeas petition precluded his § 1983 lawsuit, although he filed the § 1983
action first). Had Hedrington prevailed in the separate Hedrington case, res judicata would have
precluded this lawsuit and any related double recovery against the United States. See Vogel v.
Cotta, Tr. of Cotta Fam. Tr., 2018 WL 6137173, at *7 (C.D. Cal. Apr. 9, 2018) (“[Rles judicata
is a judge-made doctrine “based upon practical concerns: hostility to relitigation, wariness about
double recovery, and anxiety that resources will be wasted by successive suits where one would

have sufficed.’”). A final judgment against Hedrington works the same way. Ultimately, the res

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judicata doctrine requires a party to “live with the consequences of [his] choice.” Save Bull Trout
v. Williams, _F Ath _, 2022 WL 16559150, at *6 (9th Cir. 2022).

The court grants the government’s motion for summary judgment based on res judicata.

C. Insufficient evidence for a negligence claim

Even if Fear’s negligence claim is not barred under res judicata, he cannot proceed to a
trial because he has provided insufficient evidence to support his negligence claim.

“Negligence is conduct that falls below the standard [of care] established by law for the
protection of others against unreasonable risk of harm.” Flowers v. Torrance Mem’! Hosp. Med.
Center, 8 Cal. 4th 992, 997 (1995); Bennett, 44 F.4th at 933. A hospital’s standard of care is
“measured by the capacity of the patient to care for himself.” Valentin, 76 Cal. App. 2d at 4.
Even for an “ordinary” negligence claim, “[t]he standard of care against which the acts of a
physician are to be measured is a matter peculiarly within the knowledge of experts; it presents
the basic issue in a malpractice action and can only be proved by their testimony, unless the
conduct required by the particular circumstances is within the common knowledge of the
layman” Flowers, 8 Cal. 4th at 1001.

Here, summary judgment of Fear’s negligence claim is appropriate. Fear has offered no
expert testimony to establish the applicable standard of care and has offered no evidence that a
layperson would be able to assess Hedrington’s capacity to care for himself when the alleged
drugging and assault occurred. Cf Valentin, 76 Cal. App. 2d at 4; see generally Opp’n. Fear also
has not provided any evidence to show the hospital’s negligent supervision of Hedrington. See
generally Opp’n. Specifically, Fear has not produced any policies or procedures the hospital had
in place regarding monitoring or safeguarding patients. Jd. Nor has he produced any evidence to
establish what safeguards should have been in place under California law. Jd. Although
Hedrington’s declaration states hospital employees negligently left him unattended, Hedrington
Decl. 3, Fear cannot proceed to a trial based solely on this conclusory assertion in Hedrington’s

declaration, Nigro, 784 F.3d at 497-98.

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Because Fear has not shown sufficient evidence to move forward with his negligence
claim for a trial, the government’s motion for summary judgment also would be granted on these
grounds as well.

IV. CONCLUSION

For the reasons above, the court denies defendant’s motion to dismiss, but grants
defendants’ motion for summary judgment.

This order resolves ECF No. 56.

The case is ordered to be closed.

IT IS SO ORDERED.
DATED: January 10, 2023.

Abul, J

CHIEF UNITED STATES DISTRICT JUDGE

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| ORLONZO HEDRINGTON

ATTORNEY OR CARTY WITHOUT ATTORNEY NEM, Gite Burridmibor- Und adelbes) Document 65 Filed 02/08/23 Pageéo# eusr asgomy

3226 W. SPRUCE FRESNO, CA 93722

TELEPHONE NO.: (559) 978-1614 FAX NO. (Optional):
£-MAIL ADDRESS (Optional):
ATTORNEY FOR (Name):_:

United States District Court, Eastern District of California
STREET ADDRESS: 2500 Tulare Street
MAILING ADDRESS:
CITY AND ZIP CODE: Fresno, CA 93721
BRANCH NAME: District Court

PLAINTIFF/PETITIONER: Orlonzo Hedrington CASE NUMBER: 2!18-cv-02333-KJM-DB
DEFENDANT/RESPONDENT: United States of America HEARING DATE:
HEARING TIME:
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b. Address of person served: 501 | Street, Ste. 10-100

Sacramento, CA 95814 . oo. . .
he name and address of each person to whom | mailed the documents is listed in theAttachment to Proof of Service

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L] by First-Class Mail--Clvil (Persons Served) (POS-030(P)).

| declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date: 2/8/2023

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